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                               UNITED STATES DISTR ICT COURT
                               FOR THE DISTR ICT OF COLUMBIA




 SIERRA CLUB                                             Case No. 1:17-cv-02174

                  Plaintiff,
           v.

 ANDREW WHEELER, in his official
 capacity as Administrator, U.S.
 Environmental Protection Agency,

                  Defendant.




                                         Joint Status Report
          As required by the Court’s February 4, 2019, order, the parties submit their joint status

report.

          Plaintiff filed a Complaint in October 2017, alleging that Defendant failed to perform his

non-discretionary duties under certain provisions of the Clean Air Act and the Energy

Independence and Security Act. ECF No. 1. Defendant timely answered on January 2, 2018.

ECF No. 12. A month later the parties jointly moved to stay all proceedings in this case to allow

them to explore the possibility of resolving this matter without litigation. ECF No. 15. The

Court granted that motion on February 5, and granted an extension of the stay on April 6.

Eventually, the parties proceeded to litigate this matter, with Plaintiff filing its motion for

summary judgment in June, ECF No. 25, and Defendant filing its combined opposition and

cross-motion for summary judgment in August, ECF Nos. 27, 28.

          In September the parties re-engaged in good-faith discussions to try to resolve the

dispute, and the Court stayed the summary-judgment briefing to allow them to do so. ECF No.

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30; Minute Orders (Sept. 17 & Oct. 18, 2018). In February 2019 Defendant sought public

comment on a proposed partial consent decree, as required by Section 113(g) of the Clean Air

Act, 42 U.S.C. § 7413. See 84 Fed. Reg. 5672 (Feb. 22, 2019). The comment period closed on

March 25. Defendant and the Justice Department are reviewing comments received. The parties

thus ask the Court to continue the stay and they will submit a joint status report on May 30,

2019.

Submitted on April 15, 2019


                                                          /s/ Sue Chen
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                                    Certificate of Service
      I certify that on April 15, 2019, I filed the foregoing with the Court’s CMS/ECF system,
which will send notice to each party.


                                                       /s/ Sue Chen
                                                   SUE CHEN




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